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                                                                        MARGARET KLAWUNN
                                                                    7
                                                                    8                         UNITED STATES DISTRICT COURT
                                                                    9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                   10   John Doe,                                  CASE NO.: 2:17-CV-07281-SVW
                                                                                                                   (ASx)
                                                                   11                 Plaintiff,
                                                                   12          v.
NYE, STIRLING, HALE & MILLER
                               SANTA BARBARA, CALIFORNIA 93101
                               33 WEST MISSION STREET, SUITE 201




                                                                   13   MARGARET KLAWUNN, in her                   JOINT STATUS REPORT
                                                                        individual and official capacities as
                                                                   14   Vice Chancellor for Student Affairs
                                                                        for University of California, Santa
                                                                   15   Barbara; HENRY T. YANG, in his
                                                                        individual and official capacities as
                                                                   16   Chancellor of University of California
                                                                        Santa Barbara, and DOES 1 through
                                                                   17   50;
                                                                                                                   Trial Date: None set
                                                                   18                 Defendants.
                                                                   19
                                                                   20         Plaintiff John Doe (“Plaintiff”) and Defendants Margaret Klawunn and Henry
                                                                   21   Yang (“Defendants”) respectfully submit the following status report, in accordance
                                                                   22   with the Court’s November 29, 2017, Order (Dkt. 16).
                                                                   23         1.     On November 29, 2017, this Court ordered the present case stayed
                                                                   24   pending resolution of the state court proceeding entitled Doe v. Klawunn, et al.,
                                                                   25   Santa Barbara Superior Court case no. 16CV04867 and California Court of Appeal
                                                                   26   case no. B283229.
                                                                   27         2.     The Court ordered the parties to prepare and file a status report
                                                                   28   beginning on December 20, 2017, and continuing for every 30 days thereafter until
                                                                                                               1
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                                                                    1   the Court lifts the stay. Dkt. 16.
                                                                    2         3.     The status of the state court proceeding is as follows:
                                                                    3                a.     On September 11, 2017, Plaintiff filed his opening appellate
                                                                    4                       brief with the Second District Court of Appeal.
                                                                    5                b.     On November 21, 2017, Defendants Margaret Klawunn, Henry
                                                                    6                       Yang, and The Regents of the University of California filed their
                                                                    7                       response brief.
                                                                    8                b.     On January 26, 2018, Plaintiff filed his reply brief.
                                                                    9                c.     On July 11, 2018, the Court of Appeal heard oral argument.
                                                                   10                d.     On October 9, 2018, the Court of Appeal issued its opinion
                                                                   11                       reversing the trial court’s decision denying Plaintiff’s petition for
                                                                   12                       writ of mandate.
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                                                                   13                e.     The Court of Appeal’s decision became final on November 8,
                                                                   14                       2018. (Cal. R. Ct. 8.264.)
                                                                   15                f.     The parties are not pursuing a further appeal. (Cal. R. Ct. 8.264.)
                                                                   16                g.     The Court of Appeal issued remittitur on December 14, 2018.
                                                                   17                h.     The case has now been remanded back to the Superior Court
                                                                   18                       with instructions to grant Plaintiff’s petition for a writ of
                                                                   19                       mandate.
                                                                   20                i.     The Superior Court has set a hearing for February 22, 2019, for
                                                                   21                       return on the remittitur.
                                                                   22         4.     While the parties await the Superior Court’s judgment, they have
                                                                   23   agreed to utilize the Central District’s ADR program to determine if resolution of
                                                                   24   the state and federal actions can be reached. The parties are diligently working to
                                                                   25   determine mediator availability. The parties therefore request this Court maintain
                                                                   26   the stay for an additional 30 days to allow the parties to engage in the ADR process.
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                                                                         JOINT STATUS REPORT                                     Case No.: 2:17 CV 07281 SVW
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                                                                    1    Dated: January 22, 2019              NYE, PEABODY, STIRLING, HALE &
                                                                                                              MILLER, LLP
                                                                    2
                                                                    3                                         By:      /S/
                                                                                                                    Jonathan D. Miller, Esq.
                                                                    4                                               Alison M. Bernal, Esq.
                                                                                                                    Attorney for Defendants, HENRY YANG
                                                                    5                                               and MARGARET KLAWUNN
                                                                    6
                                                                         Dated: January 22, 2019             LEADER & BERKON, LLP
                                                                    7
                                                                    8                                        By:     /S/
                                                                                                                    Arthur Willner, Esq.
                                                                    9                                               Attorney for Plaintiff, JOHN DOE
                                                                   10
                                                                   11         Local Rule 5-4.3.4 Certification: I hereby attest that all other signatories
                                                                   12   listed, on whose behalf this filing is submitted, concur in the filing’s content and
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                               SANTA BARBARA, CALIFORNIA 93101
                               33 WEST MISSION STREET, SUITE 201




                                                                   13   have authorized this filing.
                                                                   14                                                 /s/
                                                                   15                                           Alison M. Bernal
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